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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH CAROLINA
                                  FLORENCE DIVISION


MICHAEL E. WOLFE,                                      )   C/A No. 4:20-0244-SAL-TER
                                                       )
                                     Plaintiff,        )
                                                       )           ORDER
vs.                                                    )
Nfn. Churray,                                          )
Officer Kayla Shervey,                                 )
Nfn. Mocccabello,                                      )
Nfn. Caldwell, Sgt.                                    )
Nfn. Perks, Lt.                                        )
Nfn Lasley, Captain,
                                                       )
Nfn Toth, Captain,
                                                       )
Jimmy Pacheco, licensed clinical psychiatrist,
Kathy Wyant, Human Servs. Coord.,                      )
Nfn Early, Associate Warden,                           )
Donna Ashley-Harouff, nurse,                           )
Amy Enloe, field nurse practitioner,                   )
Nfn Glen, deputy warden,                               )
Nfn Osborne, registered nurse,                         )
Thomas Overman, registered nurse,                      )
Dr. McRee,                                             )
Nfn Welch, transportation sgt.,                        )
L. Harris, registered nurse,                           )
Ashley Grimsley, registered nurse,                     )
Katherine Burgess, registered nurse,
                                                       )
James Smith, Human Services Coordinator
                                                       )
NFN Palmer, Captain/Unit Manager,
Defendants.                                            )
                                                       )
                                                       )
                                     Defendants.       )
______________________________________                 )




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       The Plaintiff, proceeding pro se, brings this action pursuant to 42 U.S.C. 19831.

Plaintiff is currently housed at McCormick Correctional Institution. Generally,

Plaintiff alleges Defendants Ashley-Harouff, Burgess, Caldwell, Churray, Earley,

Enloe, Glenn-Evelyn, Harris, Lasley, Pacheco-Perez, Perks, Shervey, Smith, Toth and

Wyant (hereinafter Defendants) violated his constitutional rights.

       On September 10, 2020, Plaintiff filed a motion for default judgment as a

sanction against these Defendants asserting that they have failed to respond to his

discovery. (ECF. No. 171). Defendants filed a response in opposition asserting that

they have responded to all of Plaintiff’s discovery requests pursuant to the Court’s

Order and have obtained and redacted as instructed by the Court’s order, the requested

logbooks and produced same to Plaintiff on September 23, 2020. Defendants assert

that they have searched documentation maintained by the South Carolina Department

of Corrections and produced the same when located. If defendants found no

documentation and had no memory of events alleged, they responded as such.

Defendants argue that Plaintiff is not entitled to default judgment merely because they

did not provide the responses with which he agrees. Defendants state that they have

“responded fully as possible to each discovery request propounded by the Plaintiff and

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          All pretrial proceedings in this case were referred to the undersigned pursuant to the
provisions of 28 U.S.C. § 636(b)(1)(A) and (B) and Local Rule 73.02(B)(2)(d),DSC. Because
this is a dispositive motion, the report and recommendation is entered for review by the District
Judge.

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cannot produce documents that simply do not exist or induce memories where there

are none.” (ECF No. 180).

        Plaintiff is seeking sanctions for non-compliance with the court’s discovery

order. Rule 37 of the Federal Rules of Civil Procedure governs sanctions for failing

to make disclosures or to cooperate in discovery, including but not limited to default

judgment. Plaintiff asserts that Defendants failed to abide by the court’s order with

regard to discovery and that the court should render a default judgment against the

disobedient party. Previously, Plaintiff filed motions to compel for which the court

entered orders granting in part and denying in part the motions to compel. (ECF No.

131, 157). Defendants filed a certificate of service stating that they deposited a copy

of the second supplemental responses to Plaintiff’s First Request for Production of

Documents and supplemental response to his second set of interrogatories as ordered

by the court to the Plaintiff via Certified Mail on August 27, 2020, and September 23,

2020. (ECF Nos. 150 and 159). Accordingly, Plaintiff’s motion for default judgment

as a sanction under Rule 37 of the Federal Rules of Civil Procedure (ECF No. 171)

is denied.


                                              s/Thomas E. Rogers, III
                                              Thomas E. Rogers, III
                                              United States Magistrate Judge

October 7, 2020
Florence, South Carolina




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